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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA


                                   MEMORANDUM



Honorable Kimberly J. Mueller               RE: Maria Hernandez
United States District Judge                    Docket Number: 2:11-CR00097-02
Sacramento, California                          PERMISSION TO TRAVEL
                                                OUTSIDE THE COUNTRY



Your Honor:


Maria Hernandez is requesting permission to travel to Mexico City, Mexico, between May 17,
2016 and May 31, 2016. Maria Hernandez is current with all supervision obligations, and the
probation officer recommends approval be granted. Ms. Hernandez will be traveling to Mexico
with her mother and sisters and staying with family members while in Mexico.


Conviction and Sentencing Date:      On October 9, 2013, Maria Hernandez was sentenced for
the offense(s) of 21 USC 846 and 841(a)(1), Conspiracy to Distribute and Possess with Intent to
Distribute Methamphetamine (CLASS A FELONY).


Sentence Imposed: She was originally sentenced to 87 months in the Bureau of Prisons and 60
months supervised release. On February 23, 2015, her sentence was reduced to 71 months.


Dates and Mode of Travel: Ms. Hernandez and her family plan to travel by private vehicle to
Tijuana, Mexico. There they plan to fly from Tijuana, Mexico to Mexico City, Mexico.


Purpose: Ms. Hernandez indicated she is requesting travel to visit family members, including
her aging grandmother.




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                                                                                               REV. 06/2015
                                                                TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
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RE:      Maria Hernandez
         Docket Number: 2:11-CR00097-002 KJM
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                      Respectfully submitted,

                                       /s/ Yasmin Villegas

                                      YASMIN VILLEGAS
                                Sr. United States Probation Officer


Dated:    April 12, 2016
          Visalia, California
          YV
                               /s/ Lonnie E. Stockton
 REVIEWED BY:                LONNIE E. STOCKTON
                             Supervising United States Probation Officer




                                  ORDER OF THE COURT




          ☒       Approved        ☐      Disapproved




 April 13, 2016
 Date                                        KIMBERLY
                                             UNITED       J. MUELLER
                                                     STATES    DISTRICT JUDGE
                                             United States District Judge




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                                                                                                     REV. 06/2015
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